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UNITED STATES DISTRICT COURT
EASTERN DlSTRICT OF MISS()URI

EASTERN DIVISIGN
CHRISTINE CADY, )
)
Plaintiff, )
) Cause No: 4:l2-CV-()()186
vs. l
) Circuit Court No. llAB-CCOO3l7
DVA RENAL HEALTHCARE, INC. D/B/A ) Franklin County
WASHINGTON SQUARE DIALYSIS, )
) DEFENDANT HEREBY REQUESTS
Defendant. ) A JURY TRIAL
NOTICE OF REMOVAL

CGMES NOW Defendant DVA Renal Healthcare, Inc. d/b/a Washington Square
Dialysis, by and through counsel, and files this Notice of Removal of the above-entitled action to
the United States District Court for the Eastem District of l\/Iissouri, Eastern Division pursuant to
28 U.S.C. § 1332, and in support thereof states as follows:

l. That the above~entitled action, now pending in the Circuit Court of Franklin County,
State of Missouri, is a civil action at law brought by the above-named Plaintiff against
Defendant to recover damages

2. Removal in this matter is timely in that Plaintiff filed her Petition on or about December
l9, 201 l. Defendant Was served on January 4, 2012.

3. As required by 28 U.S.C. § l446(b), the Defendant’s Notice of Removal is filed in this
Court vvithin thirty days after the receipt by Defendant of a copy of Plaintifi"s Petition in
said action, setting forth the claim for relief upon vvhich said action is based, Which vvas

served upon the Defendant.

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This Court has subject matter jurisdiction under 28 U.S.C. § 1332. because this is a civil
action in which the amount in controversy exceeds the sum of Seventy~Five Thousand
Dollars ($75,000.00), exclusive of costs and interest, and is between citizens of different
states.

The controversy in said action is wholly between citizens of different states; Plaintiff
Christine Cady, at the time of the commencement of said action and ever since has been
and still is a citizen and resident of the State of l\/Iissouri.

Defendant DVA Renal Healthcare, Inc. d/b/a Washington Square Dialysis, is
incorporated in the State of Tennessee and has its principal place of business in the State
of Colorado. See Exhibit l. Dcfendant DVA Renal Healthcare, lnc. d/b/a Washington
Square Dialysis,'therefore, is a citizen of the States of Tennes'see and Colorado for
purposes of28 U.S.C. § 1332.

The amount in controversy exceeds $75,000.00. While Plaintiffs’ Petition does not
allege a specific amount of damages, stating instead that Plaintiff seeks such sums as a
jury determines to be fair and reasonable, the amount in controversy, nevertheless,
exceeds $75,000.00.

Prior to the filing of suit, Plaintiff made a demand on Defendant of two hundred ninety-
nine thousand dollars ($299,000.00). This is Defendant’s first indication that Plaintiff
seeks damages in excess of $75,000.00.

A review of Plaintiff’s decedent’s medical records received to date reveals Plaintiff
incurred in excess of $35,000.()0 in medical expenses purportedly related to the incident
at issue, which allegedly culminated in Plaintiff s decedent’s death.

Finally, plaintiff seeks an unspecified amount for loss of consortium suffered by Plaintiff.

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In the absence of any specified amount of damages in a Petition, the courts look toward a
number of factors, including the settlement demand, in determining whether the
jurisdictional amount has been satisfied See generally Ward v. Sciz`lormen, Inc., No.
4:06CVl8l4 JCH, 2007 WL 1040934 at *2 (E.D. l\/lo. Apr. 3, 2007) (holding, in a case
where the complaint specified no amount in controversy, that the amount in controversy
was satisfied upon evidence of seriousness and permanency of injuries, medical expenses
in excess of $20,000.00, and a Settlement demand in the amount of $100,000.00).
Furthermore, Plaintiffs Petition also sets forth allegations on the nature of Plaintiff s
decedent’s injuries, stating he suffered “severe, permanent and progressive injuries
including, but not limited to, bilateral hemorrhagic brain contusion:'., a subarachnoid
hemorrhage, and mental and physical pain, anguish and distress.”

Where the plaintiff has alleged serious injuries, l\/lissouri federal courts have concluded
the amount in controversy requirement has been met. See Hall v. VIahou/is, No. 06-
6lO7-CV-SJFJG, 2007 WL 433266 at "‘l (W.D. l\/lo. Feb. 5, 2007) (holding that evidence
of amount in controversy “may include plaintiffs representations ‘including settlement
offers by plaintiff exceeding the jurisdictional amount, the plaintiffs refusal to stipulate
that she would not demand more than the jurisdictional amount, or an extensive list of
serious and disabling injuries suffered by the plaintiff.”’).

In light of Plaintiff’s demand seeking $299,000.00, the total medical and funerary
expenses determined to date, the potential value of Plaintiffs loss of consortium claim,
and the allegations concerning the serious and disabling nature of Plaintiff' s decedent’s

injuries, the amount in controversy in the present matter exceeds 375,000.00.

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15. The Circuit Court of Franklin County, State of Missouri, is located within the United
States District Couit for the Eastern District of l\/lissouri, Eastern Division. Thus, venue is
proper in this court because it is the “district and division embracing the place where such
action is pending'."’ 28 U.S.C. § 144l(a).

l6. A copy of the Plaintiff s Petition in said action, setting foith the claim for relief upon
which said action is based, Which Petition was served upon Defendant with a copy of the
summons, in attached hereto. Additionally, Defendant attaches a copy of all process,
pleadings, and orders served upon Defendant in said action.

WHEREFORE, Defendant DVA Renal Healthcare, lnc. d/b/a Washington Square

Dialysis, prays this Honorable Court accept jurisdiction of said action.

/s/William S. Thomas

 

 

William S. Thomas #43229

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Email: thomas@pspclaw.com

Email: depalma@pspclaw.com

reby certifiy that a copy of the foregoing filed electronically with the Clerk of the Court this
`§( tirday of 012 to be served by operation of the Court s electronic filing system
upon the following: Mr.l\ , ark T. Kempton, Attorney for Plaintiff,114 East 5`h Street, P O Box
815, Sedalia, Missouri 65302-0815, email: mai'k@kemptonrussell.com.

/s/William S. Thomas

 

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